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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                   Case No. 1:14-cr-00125
                                    )
v.                                  )                   Honorable Janet T. Neff
                                    )
TONY DEMARCO JOHNSON,               )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 22, 2014, after receiving the written consent of defendant and all counsel. There

is no written plea agreement. At the hearing, defendant Tony DeMarco Johnson entered a plea of

guilty to Counts One and Five of the Second Superseding Indictment. In Count One, defendant is

charged with a cocaine conspiracy in violation of 21 U.S.C. §§ 846, 841(a)(1) and

841(b)(1)(A)(ii)(II). In Count Five, defendant is charged with possession of a firearm in furtherance

of drug trafficking in violation of 18 U.S.C. § 924(c)(1)(A)(i). On the basis of the record made at

the hearing, I find that defendant is fully capable and competent to enter an informed plea; that the

plea is made knowingly and with full understanding of each of the rights waived by defendant; that

it is made voluntarily and free from any force, threats, or promises; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.
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                I therefore recommend that defendant's plea of guilty to Counts One and Five of the

Second Superseding Indictment be accepted, and that the court adjudicate defendant guilty.

Acceptance of the plea, adjudication of guilt, and imposition of sentence are specifically reserved

for the district judge.



Date: December 23, 2014                                /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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